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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )           8:05CR199
                                                 )
       vs.                                       )
                                                 )
FRED DAVID RODRIGUEZ-SOLIS,                      )          REPORT AND
JOSE C. CONTRERAS-CORTEZ,                        )
JOSUE MARTIN RODRIGUEZ-LOPEZ and                 )       RECOMMENDATION
JOSE HERNANDEZ-MENDOZA,                          )
                                                 )
                     Defendants.                 )


       This matter is before the court on the motions to suppress by defendants Fred David
Rodriguez-Solis (Rodriguez-Solis) (Filing No. 37), Jose C. Contreras-Cortez (Contreras-
Cortez) (Filing No. 27), Josue Martin Rodriguez-Lopez (Rodriguez-Lopez) (Filing No. 31)
and Jose Hernandez-Mendoza (Hernandez-Mendoza) (Filing No. 33). The defendants are
charged in an Indictment along with co-defendants Duane Charles Anderson (Anderson)
and Rogelio L. Valenzuela-Lopez (Valenzuela-Lopez) with a conspiracy to distribute and
possess with intent to distribute in excess of 500 grams of methamphetamine (Count I) in
violation of 21 U.S.C. § 846. Valenzuela-Lopez is charged in Count II with the distribution
of less than 50 grams of methamphetamine in violation of 21 U.S.C. § 841(a)(1). Anderson
is charged in Count III with the possession with intent to distribute less than 50 grams of
methamphetamine in violation of 21 U.S.C. § 841(a)(1). Hernandez-Mendoza is charged
in Count IV with the possession with intent to distribute in excess of 50 grams of
methamphetamine in violation of 21 U.S.C. § 841(a)(1). Rodriguez-Solis, Rodriguez-
Lopez, Valenzuela-Lopez, and Hernandez-Mendoza are charged in Count V with the
possession with intent to distribute in excess of 50 grams of methamphetamine in violation
of 21 U.S.C. § 841(a)(1). Contreras-Cortez is charged in Count VI with the possession with
intent to distribute in excess of 500 grams of methamphetamine in violation of 21 U.S.C.
§ 841(a)(1). Contreras-Cortez is also charged in Count VII with the use and carrying of a
firearm in relation to a drug trafficking offense in violation of 18 U.S.C. § 924(c). Counts
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VIII and IX charge a criminal forfeiture involving various sums of money and an automobile
in violation of 21 U.S.C. § 853.
       The court held combined hearings on the motions to suppress on August 23, 26, 31
and October 13, 2005.       Rodriguez-Solis was represented by Kristina B. Murphree,
Contreras-Cortez was represented by J. William Gallup, Rodriguez-Lopez was represented
by Susan M. Bazis, and Hernandez-Mendoza was represented by M. Scott Vander Schaaf.
The United States was represented by Special Assistant Jennie M. Dugan-Hinrichs and
Assistant U.S. Attorney Kimberly C. Bunjer. Chandler Thompson, a certified interpreter in
the Spanish language, served as the interpreter by remote telephone hook-up.
       During the hearings, the court heard the testimony of Sergeant Greg Gonzalez
(Sergeant Gonzalez), and Officers Kara Hindman (Officer Hindman), Jeffrey Hunter (Officer
Hunter), Pamela Heidzig (Officer Heidzig), and Mark Lang (Officer Lang), Lieutenant
Richard Gonzalez (Lieutenant Gonzalez) of the Omaha Police Department (OPD), Special
Agent Ovidio De La Fuente (Agent De La Fuente) of the Bureau of Immigration and
Customs Enforcement (ICE) of the U.S. Department of Homeland Security, and Special
Agent Gregory Beninato (Agent Beninato) of the Federal Bureau of Investigation (FBI).
The court also received into evidence the following: an affidavit for search warrant (Exhibit
1), a permission for search (Exhibit 2), copies of business cards with identification (Exhibit
3), copy of seized business card (Exhibit 4), a photograph of a house (Exhibit 5), a floor
plan of a house (Exhibit 6), a picture of a house (Exhibit 8) and a picture of a corner of a
house (Exhibit 9). A consecutively paginated transcript (TR.) of the hearings was filed on
September 22, 2005 (Filing Nos. 52, 53-Sealed, 54, 55, 56-Sealed, and 57), and on
November 4, 2005 (Filing No. 61). The government filed a post-hearing brief on November
14, 2005 (Filing No. 62). Contreras-Cortez filed a post-hearing brief on November 16, 2005
(Filing No. 63). Upon motion, further briefing was extended to December 7, 2005 (Filing
No. 64). No additional briefs were filed by any of the parties. The motions were deemed
submitted on December 7, 2005.




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                                   FINDINGS OF FACT
       On March 21, 2005, Sergeant Gonzalez received information from a confidential
informant regarding drug activities at 2616 Poppleton Avenue, Omaha, Nebraska (TR. 60).
Sergeant Gonzalez has known the informant for approximately six years and the informant
has provided reliable information to police in the past which led to arrests and prosecutions
of drug traffickers (TR. 9). Sergeant Gonzalez and Officer Tony Espejo (Officer Espejo)
met with the confidential informant who told the officers that two Hispanic males, named
Josue and Freddy, were distributing quantities of ‘ice” methamphetamine from Apartment
7 at 2616 Poppleton Avenue (TR. 7). The informant told the officers that Freddy was a
younger Hispanic male in his late teens, had a stocky build, and was balding (TR. 8). The
informant described Freddy as having ties to a local Hispanic gang, i.e., the Sureños, and
that his friend would hang out at the apartment (TR. 11). The informant described Josue
as a Hispanic male in his twenties and older than Freddy (TR. 8). The informant told the
officers that both Freddy and Josue worked at the Old Market Auto on south 10th Street
in Omaha which was across from Angie’s Restaurant (TR. 8). The informant also told the
officers that Josue lived on south 24th Street in Omaha (TR. 8). The informant told the
officers that Josue was driving a full-sized, red and white pickup (Dodge or Chevy), that
Freddy was driving a silver colored Ford Thunderbird, and another individual who may be
living at 2616 Poppleton drove a silver or gray colored Tempo compact-type vehicle (TR.
9).
       After meeting with the informant, the officers drove to Apartment 7 at 2616
Poppleton Avenue and attempted to make contact with the residents by knocking on the
door (TR.10). 2616 Poppleton Avenue is a two story frame house consisting of two
apartments (TR. 12-13; Exhibits 5,6,8 and 9). The door to apartment 7 is next to the
driveway at the residence (TR. 12). The officers received no answer and decided to set
up surveillance to observe any traffic going to and coming from the residence (TR. 10). As
they were walking down the driveway adjacent to the residence, a green colored compact
car pulled up in front of the residence (TR. 10). Officer Espejo recognized the driver as
Marcos Avila who was a Sureño gang member and whose driver’s license was suspended
(TR. 10; 13-15). As the car drove away, Officer Espejo pursued and stopped the vehicle

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approximately three or four blocks away from the residence (TR. 13-14). Officer Espejo
had all the occupants get out of the vehicle and Officer Espejo arrested Marcos Avila for
driving while his license was suspended (TR. 15). Officer Espejo briefly interviewed Avila
who said they showed up at the Poppleton Avenue residence to meet with a “Juan” about
a vehicle (TR. 16). Sergeant Gonzalez directed Officer Espejo to take Avila downtown and
conduct a formal interview with Avila (TR. 16). Following the interview, Sergeant Gonzalez
was informed by Officer Espejo that Avila said that Juan had been living at Apartment 7
and that Avila and his friends would go to Apartment 7 and smoke “ice” (TR. 17). Avila told
Officer Espejo that Juan worked at the Old Market Auto on south 10th Street (TR. 18).
Avila said that Freddy also lived there and may have a brother who lived in an apartment
on the upper level of the residence (TR. 18). Avila also stated he and his friend were
smoking “ice” at the apartment in the early morning hours the prior night (TR. 17). Avila
recalled an incident when he and his friends were smoking “ice” with Freddy in the
apartment when Freddy’s brother came downstairs and yelled at Freddy for smoking
methamphetamine and broke a pipe (TR. 18).
       Sergeant Gonzalez received another call from the informant around 6:45 p.m. on
March 21st after Avila had been stopped (TR. 18). The informant told Sergeant Gonzalez
that he overheard a conversation that a drug transaction was about to take place whereby
a Hispanic male would be driving a dark brown or maroon colored Jeep Cherokee with Old
Market Auto blue paper dealer plates and would be driving to 2616 Poppleton Avenue,
Apartment 7, to pick up a quantity of methamphetamine and deliver it to an unknown
individual (TR. 19). Sergeant Gonzalez set up surveillance on 2616 Poppleton Avenue
and, shortly after the informant’s telephone call, observed a dark colored Cherokee pull up
just to the east of 2616 Poppleton Avenue (TR. 20). Sergeant Gonzalez observed a
balding Hispanic male get out of the Cherokee and walk towards the driveway and towards
Apartment 7 of 2616 Poppleton Avenue (TR. 20). The individual was later identified as
Rogelio Valenzuela (Valenzuela) (TR. 21). Shortly thereafter, Valenzuela walked back
down the driveway, got into the Cherokee, and drove off down Poppleton Avenue (TR. 21).
Sergeant Gonzalez followed the Cherokee to the vicinity of 28th and Poppleton where the
Cherokee stopped (TR. 22). Valenzuela was out of the Cherokee and approached a

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parked Blazer where Sergeant Gonzalez observed Valenzuela hand something to the
driver of the Blazer (TR. 222). Sergeant Gonzalez then observed Valenzuela get back into
the Cherokee and drive off (TR. 22). Sergeant Gonzalez believed he observed a drug
delivery and followed the Blazer as it drove off (TR. 22). Sergeant Gonzalez radioed a
marked police cruiser to conduct a traffic stop of the Blazer (TR. 23). The vehicle was
stopped by a marked OPD cruiser and uniformed officers (TR. 23). The officers had the
occupants, the driver identified as Anderson and a female passenger, get out of the vehicle
(TR. 23). Anderson was searched and a half-ounce of methamphetamine was found
stuffed in his sock (TR. 24). Anderson was arrested and interviewed by Officer Lang (TR.
25).
       Anderson told Officer Lang that he was involved in a drug conspiracy including a
group of Hispanic males who were distributing ice methamphetamine out of Apartment 7
at 2616 Poppleton Avenue (TR. 25). Anderson provided names, nicknames, physical
descriptions, descriptions of vehicles used by the conspirators, and the Old Market Auto
as a place of business where the conspirators either worked or frequented (TR. 25-26).
Anderson told Officer Lang that Anderson had received multiple ounces of
methamphetamine from various individuals over a one-year period of time (TR. 26).
Anderson provided telephone numbers for individuals he would call using the names of
Matty One, Matty Two, and Freddy (TR. 27). Anderson further told Officer Lang that
among the vehicles used to deliver methamphetamine to him by Freddy was a silver-
colored Ford Thunderbird (TR. 26-27).
       Following the interview of Anderson, the OPD decided to call one of Anderson’s
suppliers and set up a drug sale (TR. 27). Prior to making the call, OPD officers set up
surveillance at the Old Market Auto and 2616 Poppleton Avenue (TR. 28-29). Additional
officers from the drug task force, FBI Agent Beninato and ICE Agent De La Fuente, and
officers of the South Gang Unit were called upon to assist (TR. 29). Officer Heidzig
reported she observed a Ford Thunderbird occupied by a lone Hispanic male at the Old
Market Auto lot (TR. 31; 385-86). The Thunderbird’s lights were off and the business
appeared to be closed (TR. 31; 385). The Thunderbird began driving off and Officer
Heidzig observed that the driver was a Hispanic male of stocky build with a bald head (TR.

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32; 386). Officer Heidzig was directed to have a traffic stop performed on the Thunderbird
and to watch the occupant of the Thunderbird to see if the occupant was using his cell
phone (TR. 33).     The occupant did not appear to use the cell phone (TR. 34-35).
Uniformed OPD officers in a marked cruiser stopped the Thunderbird and Officer Heidzig
parked behind the cruiser (TR. 388). Officer Heidzig was informed that Officer Lang would
place a telephone call to one of the cell phone numbers which Anderson had provided and
Officer Heidzig was to listen if the cell phone of the occupant of the Thunderbird rang (TR.
389). The cell phone did not ring (TR. 390).
       The driver of the Thunderbird was Rodriguez-Solis (TR. 389). When stopped
Rodriguez-Solis produced a Mexican Consulate identification card but had no driver’s
license (TR. 37). Rodriguez-Solis spoke little English and the uniformed officer waited for
Sergeant Gonzalez to arrive (TR. 37). Sergeant Gonzalez, who speaks Spanish, arrived
at the traffic stop and was accompanied by Agent De La Fuente, who also speaks Spanish
(TR. 37). Sergeant Gonzalez and Agent De La Fuente approached Rodriguez-Solis who
was seated in the Thunderbird and had Rodriguez-Solis get out of the Thunderbird (TR.
37). Sergeant Gonzalez asked Rodriguez-Solis for paperwork on the car and a driver’s
license (TR. 37).   Rodriguez-Solis was also asked about where he lived and other
biographical information (TR. 38-39). Rodriguez-Solis stated he lived in north Omaha and
denied living at 2616 Poppleton Avenue (TR. 39).            Sergeant Gonzalez described
Rodriguez-Solis as sober but evasive and somewhat irate (TR. 40-42). Agent De La
Fuente took over the questioning and asked Rodriguez-Solis about his immigration status
(TR. 42). It was determined that Rodriguez-Solis was in the United States illegally and that
he was driving after his license was suspended (TR. 42-43). Rodriguez-Solis was arrested,
placed in handcuffs, and placed in Sergeant Gonzalez’s unmarked police vehicle (TR. 42-
43; 291). Sergeant Gonzalez directed that an inventory search of the Thunderbird occur
and that the Thunderbird be towed (TR. 43). Sergeant Gonzalez testified he conducted the
inventory search “due to source information through Mr. Duane Anderson and as an active
part of the ongoing investigation” (TR. 43). A brief search of the Thunderbird resulted in
the seizure of several pieces of paper with phone numbers on them and the word “Sureños
13” on one together with a set of keys in the ignition and a cell phone (TR. 44).

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       Rodriguez-Solis was transported to the central police station where he was
interviewed by Sergeant Gonzalez and Agent De La Fuente (TR. 44). During this time,
Sergeant Gonzalez was informed by other officers of his unit that Hernandez-Mendoza was
observed arriving at Apartment 7 at 2616 Poppleton Avenue, staying a short time, and
leaving whereupon other officers of the gang unit conducted a traffic stop of Hernandez-
Mendoza for a traffic violation (TR. 45).
       Hernandez-Mendoza did not signal a turn and made an improper turn, both traffic
violations (TR. 135). Officers Gassaway and Hindman approached the Hernandez-
Mendoza who was the lone occupant of a Ford Tempo (TR. 136). Hernandez-Mendoza
had no identification and appeared very nervous (TR. 136). When Hernandez-Mendoza
kept turning away from the officers and putting his hand near his front coat pocket, the
officers removed him from the Ford Tempo (TR. 136). When Hernandez-Mendoza kept
putting his hands in his pockets despite warnings from the officers, Hernandez-Mendoza
was patted down and Officer Gassaway felt a large bulge in Hernandez-Mendoza’s front
pocket (TR. 137). After a data check was performed and revealed Hernandez-Mendoza
was driving on a suspended license, Hernandez-Mendoza was handcuffed and searched
thoroughly (TR. 138). Hernandez-Mendoza had 117 grams of methamphetamine in his
right front coat pocket and approximately 15 grams of methamphetamine in his left boot
(TR. 138). An inventory search of the Ford Tempo was performed before the car was
taken to the impound lot (TR. 139). A six-inch knife was located under the driver’s seat
(TR. 139). Hernandez-Mendoza was placed in the police cruiser and taken to 2616
Poppleton Avenue (TR. 139).
       Sergeant Gonzalez directed Officer Lang to prepare an affidavit and application for
a search warrant of Apartment 7, 2616 Poppleton Avenue (TR. 47). The affidavit described
(1) the information Sergeant Gonzalez received from the confidential informant regarding
the drug activities at Apartment 7, 2616 Poppleton Avenue, (2) the March 21, 2005 arrest,
search and questioning of Anderson regarding Anderson’s drug trafficking over the past
year involving Apartment No. 7 at 2616 Poppleton Avenue, and (3) the March 21, 2005
arrest, search, and questioning of Hernandez-Mendoza involving Apartment No. 7, 2616
Poppleton Avenue (Exhibit 1). The affidavit further set forth that narcotics officers had

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secured the residence at Apartment No. 7, 2616 Poppleton Avenue, after locating the key
to that residence in Hernandez-Mendoza’s car (Exhibit 1).
       Upon arrival at 2616 Poppleton Avenue with Hernandez-Mendoza in his police
cruiser, Officer Hindman drove all the way up the driveway and was parked parallel to the
door for Apartment No. 7 for about five minutes (TR. 140-41). Officer Gassaway drove
Hernandez-Mendoza’s car to 2616 Poppleton Avenue (TR. 143).
       Lieutenant Gonzalez testified that on March 21, 2005, he was a Sergeant in charge
of a gang unit and was asked by Sergeant Gonzalez for assistance regarding the
investigation at 2616 Poppleton Avenue (TR. 195). After being briefed on the activity at
2616 Poppleton Avenue, he assisted in the investigation (TR. 196). As a gang unit
supervisor, Lieutenant Gonzalez was familiar with the Sureños gang (TR. 197). Lieutenant
Gonzalez described the Sureños as the largest Latino gang in the area and one of the most
dangerous (TR. 197). The Sureños are noted for their well organized criminal activity in
drug dealing, robbery, kidnaping and homicide (TR. 197). The gang also has a website on
the internet (TR. 197). Lieutenant Gonzalez learned of the traffic stop of Hernandez-
Mendoza and drove to the scene of the stop (TR. 198). After finding out the arresting
officers found methamphetamine on Hernandez-Mendoza after he traveled from 2616
Poppleton Avenue, Lieutenant Gonzalez made the decision to take Hernandez-Mendoza
back to 2616 Poppleton Avenue after conferring with Sergeant Gonzalez (TR. 199).
Lieutenant Gonzalez was aware that an affidavit and application for a search warrant for
Apartment No. 7, 2616 Poppleton Avenue was being prepared (TR. 200). He directed that
Hernandez-Mendoza’s key to Apartment No. 7 be used to gain entry while waiting for the
search warrant to arrive (TR. 199-200). Lieutenant Gonzalez described his rationale for
entry as follows:
              Again several factors why we went in. The fact that the
              manpower that we had was dwindling down pretty much to
              nothing, we had just arrested a party that left that apartment,
              and we — and we knew that there were other suspects out
              there as well that we were looking for. It started to rain at that
              time. The fact that we had gang members that were involved
              who are known for countersurveillance, known to have
              neighbors in countersurveillance. There’s no way with the
              manpower that we had where we could set up in a secure

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              position outside the residence without giving up our safety,
              and, again, the fact that it began to rain. We decided to go in
              and secure the residence and wait for the search warrant to be
              signed that was being written at the time.
(TR. 199-200).
        One of the keys from the set of keys that was in the ignition of the Ford Tempo was
used to open the door to Apartment No. 7 and OPD officers entered the apartment (TR.
143). The inside of Apartment No. 7 was very small consisting of one room and a small
bathroom (TR. 143; 200). The officers conducted a sweep of the room and bathroom for
other persons and found none (TR. 200). Officer Hindman remained in the cruiser outside
with Hernandez-Mendoza while other OPD officers secured Apartment No. 7 (TR. 141).
Officer Hindman described the weather conditions as dark and raining very hard (TR. 141).
When informed by the other OPD officers that Apartment No. 7 was clear, Officer Hindman
brought Hernandez-Mendoza inside Apartment No. 7 and seated him on the floor (TR.
141).
        While waiting inside Apartment No. 7 for the search warrant to arrive, the officers
monitored radio traffic regarding the ongoing investigation (TR. 202). Surveillance Officers
Maloney and Duffek, who were at a stationary position west of the residence, radioed that
a Neon had just pulled up on Poppleton Avenue directly in front of the driveway facing
eastbound (TR. 146). The driver, Contreras-Cortez began walking up the driveway when
he suddenly stopped and turned around and began walking briskly back to his car (TR.
146-147). Officers Maloney and Duffek moved their car to next to the Neon and blocked
Contreras-Cortez’s movement (TR. 148; 202). Officer Hindman came out of the apartment
and approached Contreras-Cortez who was now in the Neon with the motor running (TR.
148). When Contreras-Cortez could not produce an ID, he was removed from the Neon
(TR. 148; 203). Officer Hindman asked for a male officer to pat Contreras-Cortez down
(TR. 279). Lieutenant Gonzalez conducted a pat-down search of Contreras-Cortez (TR.
203). Lieutenant Gonzalez felt several lumps in Contreras-Cortez’s coat pocket (TR. 203).
Believing the lumps to be narcotics, the lumpy items were removed and found to be
bundles of U.S. currency, approximately $850 each (TR. 203). Lieutenant Gonzalez
testified:

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              We proceeded to take the gentleman into apartment number
              two [sic] where we were so we could get out of – first of all, the
              weather was – it was raining, and we wanted to get out of the
              front of the apartment ‘cause we had other suspects that we
              were looking for as well, so we decided to take him in, and
              because he had no ID, we were probably eventually going to
              take him down for an ID check.
(TR. 203-04). Contreras-Cortez was handcuffed, taken inside Apartment No. 7, and was
turned over to Agent De La Fuente and Agent Beninato, both Spanish speakers, because
Contreras-Cortez did not speak English (TR. 204). Lieutenant Gonzalez told Agent De La
Fuente that Contreras-Cortez was leaving the area quickly and asked Agent De La Fuente
and Agent Beninato to interview Contreras-Cortez (TR. 293). Agent De La Fuente and
Agent Beninato and an Omaha police officer, all armed but with weapons sheathed, took
Contreras-Cortez into the bathroom, described as being three feet by six feet in dimensions
(TR. 319). Contreras-Cortez was not given any Miranda warnings as Agent De La Fuente
questioned Contreras-Cortez about who he was, where he lived, what he was doing in the
area, names, his date of birth, and parents’ names (TR. 319-320). Contreras-Cortez
provided information as to a prior apprehension by the border patrol and biographical
information (TR. 294). Contreras-Cortez stated he lived in the area of 30th and Pacific
Streets in Omaha, but could not provide an exact address (TR. 294). One of the other
officers stated that Contreras-Cortez resided close by (TR. 294). Agent De La Fuente
asked Contreras-Cortez if he knew anybody in the area or if he stayed close by in the area
to see if Contreras-Cortez would “come clean” with the information (TR. 295). Contreras-
Cortez stated he had a friend who lived somewhere in the building (2616 Poppleton
Avenue) (TR. 295). Someone produced a set of keys, presumably those taken from the
Neon Contrears-Cortez was driving, which was contained in an envelope with other items
(TR. 439), Agent De La Fuente asked Contreras-Cortez if any one of the keys would fit
one of the locks in the apartments in the building (TR. 295). Contrearas-Cortez said none
of the keys would fit as he lived in the area of 30th and Pacific (TR. 295). Whereupon
Agent Beninato began asking Contreras-Cortez the same questions and Contreras-Cortez
maintained his answers (TR. 295). Agent Beninato produced a bill from the envelope which
had the keys and the bill had Contreras-Cortez’s name and the address of Apartment No.

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2, 2616 Poppleton, on the bill (TR. 439). When asked about the bill, Contreras-Cortez said
he did not know where the bill came from (TR. 440).
        Another officer interrupted them and asked Agent Beninato to bring Contreras-
Cortez upstairs to Apartment No. 2 (TR. 441). Contreras-Cortez was taken outside
Apartment 7 on the main floor and up some stairs to a hallway outside Apartment No. 2
(TR. 442). Outside of the door to Apartment No. 2 were Contreras-Cortez, Agents
Beninato and De La Fuente, and at least one OPD officer including Officer Gassaway (TR.
296). Agent Beninato again asked Contreras-Cortez if he lived at Apartment No. 2 and
Contreras-Cortez said “no” (TR 442).              Officer Gassaway knocked on the door and
announced “Police. Anybody home?”, which Agent De La Fuente repeated in Spanish (TR.
296). The announcements were made a second time with no response (TR. 296). Agent
De La Fuente asked Contreras-Cortez if Contreras-Cortez was sure there was nobody at
home and Contreras-Cortez remained silent and bowed his head (TR. 296). Officer
Gassaway, using the set of keys taken from Contreras-Cortez, inserted one of the keys into
the lock of Apartment No. 2 and the lock turned (TR. 296). Agent Beninato again asked
Contreras-Cortez if he lived in Apartment No. 2, and Contreras-Cortez said he did (TR.
442). When asked if anybody else lived there or was present, Contreras-Cortez said “no”
(TR. 442). When asked if the officers could go in and search the apartment, Agent
Beninato recalled Contreras-Cortez saying “yes” (TR. 443).1 The door was opened and
several OPD officers went inside and conducted a protective sweep of the apartment
finding no one present (TR. 297). One of the officers stated he saw a small amount of
drugs or contraband in the kitchen area (TR. 297).
        Agent De La Fuente took Contreras-Cortez inside Apartment No. 2 where Agent De
La Fuente began to Mirandize Contreras-Cortez and complete a written permission to



        1
           Agent De La Fuente recalls Contreras-Cortez saying “yes” to a search of Apartment No. 2 while
Contreras-Cortez was still in Apartment No. 7 (TR. 297). Lieutenant Gonzalez recalled Contreras-Cortez told
the officers while Contreras-Cortez was in Apartment No. 7 that he had a key to Apartment No. 2 and stayed
there sometimes (TR. 205). Lieutenant Gonzalez also recalled that Contreras-Cortez was asked if Contreras-
Cortez would mind if the police officers could go up to Apartment No. 2 and speak to Contreras-Cortez’s
roommate to confirm his story since Contreras-Cortez had a key to the apartment and sometimes stayed there
(TR. 205). Lieutenant Gonzalez did not recall Contreras-Cortez’s exact response other than Contreras-Cortez
had no problem with the officers proceeding upstairs and checking on Apartment No. 2 (TR. 205-206).

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search form (TR. 297). Agent De La Fuente read the form to Contreras-Cortez in Spanish
and Contreras-Cortez signed the permission to search (TR. 299; 443; Exhibit 2). After
being advised of his Miranda rights, Contreras-Cortez declined to make any statements
or answer questions except he asked Agent De La Fuente how long is would be before
Contreras-Cortez would go back to Mexico (TR. 299; 443). Apartment No. 2 was searched
and Contreras-Cortez was seated on the floor in the apartment while it was being searched
and fell asleep (TR. 445). A large amount of methamphetamine, approximately $12,000
in cash, and a firearm was found in the apartment (TR. 446).
      While the officers were in Apartment No. 2 upstairs, Hernandez-Mendoza remained
in Apartment No. 7 downstairs (TR. 143). From his initial placement in the apartment,
Hernandez-Mendoza was moved to being seated on the bed in the one-room apartment
(TR. 144). With Officers Branch and Hindman remaining in the apartment with Hernandez-
Mendoza, the officers could hear the commotion upstairs while the officers were searching
Apartment No. 2 and heard one of the officers say that “ice” was found (TR. 145). At that
point the following occurred:
             Q.      (Ms. Dugan Hinrichs to Officer Hindman) And then what
             happened?
             A.      (Officer Hindman) At that time, Mr. Hernandez was –
             was just seated there, all of the sudden, he starts this
             (indicating), kind of flinging his head up to the right, and he’s
             looking up, and kind of shrugging like that (indicating). He was
             still handcuffed at the time. I asked him basically what he
             needed and he – and he – and he quoted, It’s up there. It’s all
             up there. That’s all I have.
             Q.      And was that – was his motions or that statement in
             response to any questions that you asked him?
             A.      No. It was silent in the room.
(TR. 144).
      Officer Lang was tasked to prepare the affidavit and application for a search warrant
for Apartment No. 7 after Hernandez-Mendoza’s stop and arrest (TR. 516). Officer Lang
prepared the search warrant papers and took them to a Douglas County judge who signed
the search warrant at 1:00 a.m. on Tuesday, March 22, 2005 (TR. 517; Exhibit 1). Officer
Lang telephoned Sergeant Gonzalez and informed him that the warrant had been signed
and that Officer Lang was on his way to the apartment (TR. 518). When Officer Lang

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arrived, the officers had already commenced their search of the apartment (TR. 518).
Officer Lang reviewed some of the evidence seized, particularly various business cards,
so as to relate the items to the investigation (TR. 519-520).
       As part of the investigation, Officer Heidzig was tasked to locate a vehicle involved
in the investigation, a Jeep Cherokee, maroon or brown in color (TR. 393). In the early
morning hours of March 22, 2005, Officer Heidzig located the vehicle parked in the rear of
1526 South 24th Street in Omaha (TR. 392). The Jeep was parked in a paved alleyway
in the rear of the house (TR. 393). Officer Heidzig radioed Sergeant Gonzalez for
assistance before going to the residence and doing a “knock and talk” with Josue
Rodriguez-Lopez whom the officers believed to be residing at the residence (TR. 393).
After waiting an hour, other officers arrived (TR. 394). Lieutenant Gonzalez, Agent
Beninato and De La Fuente, and OPD Officers Gassaway, Collins, and Wells arrived at the
location (TR. 394-395). Officer Heidzig and the two federal officers walked to the front door
and knocked (TR. 395). Josue Rodriguez-Lopez answered the door and permitted the
officers to enter when they asked to step inside (TR. 395). Officer Heidzig told Rodriguez-
Lopez about the ongoing investigation which had been conducted during the course of the
night, that he was being implicated along with his brother, and that his brother, Fred, had
been arrested and taken downtown (TR. 396). Lieutenant Gonzalez then entered the
residence with the other OPD officers (TR. 396). When asked, Rodriguez-Lopez stated
that he, his wife, and kids were the only ones in the house (TR. 396). Officer Heidzig told
Rodriguez-Lopez that for safety’s sake, the officers would sweep the house and be sure
of the occupants, which the officers did (TR. 396). Officer Heidzig asked for permission to
search the house, and Rodriguez-Lopez refused (TR. 397). Rodriguez-Lopez had a cell
phone in his pocket (TR. 398). There is a divergence of testimony as to how the cell
phone was located. Officer Heidzig testified the cell phone was retrieved from Rodriguez-
Lopez’s shirt pocket from a search incident to arrest after Rodriguez-Lopez had been
handcuffed (TR. 398). Lieutenant Gonzalez recalled that Rodriguez-Lopez handed the cell
phone to Lieutenant Gonzalez before Rodriguez-Lopez was handcuffed (TR. 250-251).
Neither Agent De La Fuente nor Agent Beninato recalled the sequence of events relating
to the cell phone (TR. 302-303; 449-450). Officer Heidzig made telephone contact with

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Sergeant Gonzalez at another location while he was investigating an address of another
suspect in the investigation (TR. 58). Apparently, Sergeant Gonzalez called or had
someone dial the telephone number used by Anderson to order drugs and the cell phone
which was in Rodriguez-Lopez’s pocket rang (TR. 398-400).               Rodriguez-Lopez told
Sergeant Gonzalez that the cell phone was not his since his cell phone was in a charger
in the bedroom (TR. 398). Three cell phones were seized that evening from the house
occupied by Rodriguez-Lopez (TR. 400). Rodriguez-Lopez was transported downtown to
Central Police Headquarters.


                                     LEGAL ANALYSIS
                A. Rodriguez-Solis’ Motion to Suppress (Filing No. 37)
       Rodriguez-Solis asserts that the traffic stop of his Thunderbird on March 21, 2005,
was illegal as was his arrest and the subsequent search and seizure of the Thunderbird.
The government asserts there was sufficient reasonable articulable suspicion of criminal
activity to stop Rodriguez-Solis’ Thunderbird on the evening of March 21, 2005. Further,
following the stop, Rodriguez-Solis was properly arrested for driving without a license. The
subsequent search of Rodriguez-Solis and the Thunderbird were incident to his arrest.
       The court agrees with the government’s position in this matter and finds that the
police officers had a reasonable articulable suspicion of ongoing criminal activity to warrant
a stop of Rodriguez-Solis’ Thunderbird on the evening of March 21, 2005, pursuant to
Terry v. Ohio, 392 U.S. 1, 25-31 (1968); United States v. Sharpe, 470 U.S. 675, 682
(1985); United States v. Navarrete-Barron, 192 F.3d 786, 790 (8th Cir. 1999). The
reasonable suspicion necessary to justify an investigatory stop must include “specific and
articulable facts which, taken together with rational inferences from those facts, reasonably
warrant that intrusion.” Terry, 392 U.S. at 21; see Navarrete-Barron, 192 F.3d at 790.
In addition to the findings of fact set forth by the court in the Findings of Fact section above,
the court adopts the litany of facts set forth by the government in its post-hearing brief
(Filing No. 62, pages 3-7). Not only was there reasonable articulable suspicion under
Terry, there was also sufficient probable cause to stop the vehicle. Probable cause exists
when the totality of circumstances demonstrates that a prudent person would believe that

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an individual has committed or was committing a crime. Kuehl v. Burris, 173 F.3d 646,
650 (8th Cir. 1999). The courts must give law enforcement officers "substantial latitude in
interpreting and drawing inferences from factual circumstances."        United States v.
Washington, 109 F.3d 459, 465 (8th Cir. 1997).
       Once Rodriguez-Solis was stopped, it was determined that he was driving without
a license and arrested. The arrest was in accordance with Nebraska statutes. See Neb.
Rev. Stat. §§ 60-484 and 60-4,111. Once lawfully arrested, Rodriguez-Solis was legally
searched incident to that arrest. United States v. Robinson, 414 U.S. 218 (1973).
Following Rodriguez-Solis’ arrest, the Thunderbird in which he was arrested was legally
searched. “The law is clear that officers may search the passenger compartment of an
automobile and examine the contents of any containers found within the passenger
compartment when they have made a lawful custodial arrest of the occupant of an
automobile.” United States v. Williams, 165 F.3d 1193, 1195 (8th Cir. 1999) (citing New
York v. Belton, 453 U.S. 454 (1981)).
       Rodriguez-Solis’ motion to suppress should be denied.


              B. Contreras-Cortez’s Motion to Suppress (Filing No. 27)
       Contreras-Cortez asserts that he was illegally stopped and seized outside of 2616
Poppleton Avenue on March 21, 2005, and that any evidence obtained from him or his
vehicle or from Apartment No. 2 subsequent to his seizure should be suppressed. The
government asserts that there was sufficient reasonable articulable suspicion to perform
a Terry stop of Contreras-Cortez, his continued detention was reasonable, and that
Contreras-Cortez voluntarily consented to the search of Apartment No. 2.
       Contreras-Cortez was approached by police officers as he parked on the street
outside 2616 Poppleton Avenue and walked up the driveway toward the entrance to
Apartment No. 7 when he suddenly turned and walked briskly back to his car. This was at
a time when Apartment No. 7 was under active investigation and surveillance as a drug
trafficking residence. Whereupon, Contreras-Cortez was detained by having his car
blocked from leaving his parking space by an unmarked police vehicle.            Thus an
investigative detention of Contreras-Cortez began.

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       An investigative detention must be supported by a reasonable articulable suspicion
of criminal activity.
               [The Eighth Circuit] has summarized the standards used to
               consider whether reasonable suspicion exists as follows:
               The standard of articulable justification required by the fourth
               amendment for an investigative, Terry-type seizure is whether
               the police officers were aware of particularized, objective facts
               which, taken together with rational inferences from those facts,
               reasonably warranted suspicion that a crime was being
               committed. In assessing whether the requisite degree of
               suspicion exists, we must determine whether the facts
               collectively establish reasonable suspicion, not whether each
               particular fact establishes reasonable suspicion. The totality of
               the circumstances -- the whole picture -- must be taken into
               account. We may consider any added meaning certain
               conduct might suggest to experienced officers trained in the
               arts of observation and crime detection and acquainted with
               operating modes of criminals. It is not necessary that the
               behavior on which reasonable suspicion is grounded be
               susceptible only to an interpretation of guilt, however, the
               officers must be acting on facts directly relating to the suspect
               or the suspect’s conduct and not just on a “hunch” or on
               circumstances which describe a very broad category of
               predominantly innocent [people].
United States v. Beck, 140 F.3d 1129, 1136 (8th Cir. 1998) (internal citations and
quotations omitted); see also Illinois v. Wardlow, 120 S. Ct. 673, 676 (2000).
Additionally, courts have held evasive and erratic behavior can contribute to a finding of
reasonable suspicion. United States v. Montero-Camargo, 208 F.3d 1122, 1136-37 (9th
Cir. 2000) (suspect took evasive and erratic path in an apparent attempt to avoid police,
which was relevant to reasonable suspicion analysis); United States v. Turpin, 920 F.2d
1377, 1385 (8th Cir. 1990) (suspect exhibited erratic behavior and “alarm” after seeing
police officers). Recently, the Supreme Court has held “nervous, evasive behavior is a
pertinent factor in determining reasonable suspicion.” Wardlow, 120 S. Ct. at 676. The
Wardlow court held whether “the stop occurred in a ‘high crime area’ [is] among the
relevant contextual considerations in a Terry analysis.” Id. However, such presence alone
is not enough to support reasonable suspicion. Id. The court noted that even where all of
the suspect’s conduct is lawful, if the conduct is ambiguous and susceptible to an innocent

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explanation as well as creating a reasonable suspicion of criminal activity, police officers
may detain the individual to resolve the ambiguity. Id. at 677.
       In this case the police officers were within their authority to temporarily detain
Contreras-Cortez to resolve any ambiguity with regard to his suspicious behavior directed
at a residence of reported drug activity for which a search warrant was being obtained. The
officers also properly conducted a pat down of Contreras-Cortez and the currency found
on him should be admissible in evidence. However, no arrest was made of Contreras-
Cortez until after he was brought into the 2616 Poppleton Avenue building and a search
of Apartment No. 2 was conducted. Yet, Contrears-Cortez was handcuffed, taken into
Apartment No. 7, and questioned in a small bathroom surrounded by armed police officers.
The questioning went beyond any “biographical” information and resorted to questions
about the apartment upstairs and keys to the apartment.
       One of the principal factors is whether or not the defendant was in custody at the
time of the statements. “A consensual encounter does not amount to a custodial situation
requiring the administration of Miranda warnings.” United States v. Woods, 213 F.3d
1021, 1023 (8th Cir. 2000).
       “A Miranda warning must precede any custodial interrogation. A custodial
interrogation involves questioning initiated by law enforcement officers after a person has
been taken into custody or otherwise deprived of his freedom of action in any significant
way.” United States v. Chamberlain, 163 F.3d 499, 502 (8th Cir. 1999) (citing Miranda
v. Arizona, 384 U.S. 436 (1966)). “Custody occurs either upon formal arrest or under any
other circumstances where the suspect is deprived of his freedom in any significant way.”
United States v. Griffin, 922 F.2d 1343, 1347 (8th Cir. 1990). “In determining whether an
individual was in custody, a court must examine all of the circumstances surrounding the
interrogation, but the ultimate inquiry is simply whether there [was] a formal arrest or
restraint on freedom of movement of the degree associated with a formal arrest.”
Thatsaphone v. Weber, 137 F.3d 1041, 1044 (8th Cir. 1998) (citing Stansbury v.
California, 511 U.S. 318, 322 (1994)). The definition of questioning includes, “either
express questioning or . . . any words or actions on the part of the police . . . that the police
should know are reasonably likely to elicit an incriminating response from the [defendant].”

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United States v. Koontz, 143 F.3d 408, 411 (8th Cir. 1998) (citing Rhode Island v. Innis,
446 U.S. 291, 300-01 (1980)). Failure to advise an in-custodial defendant of such rights
will render statements inadmissible made by such a defendant as a result of police
interrogation. The questioning of Contreras-Cortez was improper.
       The government asserts that Contreras-Cortez voluntarily consented to the search
of Apartment No. 2. The Fourth Amendment test for valid consent to search is that the
consent be voluntary, and such “[v]oluntariness is a question of fact to be determined from
all the circumstances.” Ohio v. Robinette, 519 U.S. 33, 40 (1996). Some characteristics
that aid in determining voluntariness of consent are age, intelligence, whether an individual
was under the influence of drugs or alcohol, whether an individual was read his Miranda
rights, and whether an individual had experienced prior arrests.         United States v.
Hathcock, 103 F.3d 715, 719-20 (8th Cir.), cert. denied,117 S. Ct. 2528 (1997). The court
can also look at the period of time that the individual was detained; whether the police
threatened, physically intimidated, or punished the individual; whether promises or
misrepresentations were made upon which the individual relied; whether the individual was
in custody or under arrest at the time of consent; whether the consent occurred in a public
or secluded place; and whether the individual stood by silently while the search occurred.
Id. The burden is on the government to establish Contreras-Cortez voluntarily consented
to the search of Apartment No. 2. The court finds the government has failed to establish
such consent. The defendant was improperly detained inside Apartment No. 7, he was
handcuffed and intimidated by the officers while confined in the small bathroom of
Apartment No. 7, there was a divergence of testimony regarding the opening of Apartment
No. 2 before any alleged verbal consent was given. The written consent is of little
significance since it was executed well after the officers entered Apartment No. 2.
       Under these circumstances, the court cannot conclude that the consent was the
product of a free and unconstrained decision or that the defendant comprehended the
decision he made. The combination of the custodial situation, defendant’s admission of his
immigration status, the presence of the numerous armed officers, the defendant’s limited
understanding of English, and the law enforcement officer’s repeated and insistent



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questions and commands created a coercive environment. The evidence demonstrates
the defendant merely acquiesced to the search believing he had no other choice.
       The court finds that Contreras-Cortez’s motion to suppress should be denied as to
the currency found on his person but otherwise granted.


              C. Rodriguez-Lopez’s Motion to Suppress (Filing No. 31)
       Rodriguez-Lopez asserts that he was illegally arrested on the morning of March 22,
2005 and that his person and residence at 1526 South 24th Street, Omaha, Nebraska, was
illegally searched. The government asserts there was probable cause to arrest Rodriguez-
Lopez, that the arresting officers were present in Rodriguez-Lopez’s residence with his
consent, and the items seized were incident to Rodriguez-Lopez’s arrest.
       A consent to entry or search of a residence must be voluntary. In addition to
voluntariness, consent must be obtained form “the defendant or ‘from a third party who
possesse[s] common authority over or other sufficient relationship to the premises or
effects sought to be inspected.’” United States v. Adams, 346 F.3d 1165, 1170-71 (8th
Cir. 2003) (quoting United States v. Matlock, 415 U.S. 164, 171 (1974)). “The relevant
inquiry is whether the facts available would have justified a reasonable officer in the belief
that the consenting party had authority over the premises.” Id.
       In the present case, no evidence suggests Rodriguez-Lopez was threatened,
intimidated, or promised anything in return for giving consent to entry of the 24th Street
residence. After officers knocked on the front door and asked to enter, Rodriguez-Lopez,
who answered the door, permitted the officers to enter (TR. 395). The officers had
information that Rodriguez-Lopez lived at the residence (TR. 393). Rodriguez-Lopez told
the officers he, his wife and children were the only people in the house (TR. 396). The
officers conducted a protective sweep of the home (TR. 396). Although, the officers asked
for consent to search Rodriguez-Lopez declined (TR. 397). The evidence indicates officers
searched the premises and seized other cellular telephones in the residence (TR. 398-400).
       Rodriguez-Lopez voluntarily allowed the officers to enter the residence by
consenting verbally to their entry. However, Rodriguez-Lopez did not consent to a search.
Further, the officers did not have a search warrant for the 24th Street house. The

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government failed to show any exception to the warrant requirement exists for the search
and seizure of items located at the 24th Street house. Accordingly, Rodriguez-Lopez’s
motion to suppress should be denied with regard to any alleged unconstitutional entry into
the residence, but granted as to any evidence found based on the unconstitutional search
of the premises.
       Probable cause must exist to justify a warrantless arrest. United States v. Adams,
346 F.3d 1165, 1169 (8th Cir. 2003). A court finds probable cause existed at the time of
arrest when the available facts and circumstances are sufficient to warrant a person of
reasonable caution to believe that an offense was being or had been committed by the
person to be arrested. Id.
              Probable cause exists if the totality of the circumstances known
              to all officers involved at the time of the arrest were sufficient
              to warrant a prudent person’s belief that the suspect had
              committed or was committing an offense. Because probable
              cause requires only a probability or substantial chance of
              criminal activity, rather than an actual showing of criminal
              activity, the police need not have amassed enough evidence
              to justify a conviction prior to making a warrantless arrest.
United States v. Mendoza, 421 F.3d 663, 667 (8th Cir. 2005) (internal citations and
quotations omitted). In reviewing the evidence a court must view the totality of the
circumstances in the case through the eyes of the experienced officers involved in the
arrest and “give ‘due weight’ to inferences drawn from the facts and circumstances of each
case by local law enforcement officers.” Id.
       In this case, the officers had the name and a description matching Rodriguez-Lopez
as someone involved with others selling “ice” methamphetamine (TR. 7-9). Officers
received the information from the C/I, who also told officers where Rodriguez-Lopez worked
with his brother “Freddy” in the conspiracy and at Old Market Auto (TR. 8). Anderson later
corroborated some of the same information (TR. 25-27). Additionally, the Jeep Cherokee
seen earlier during a drug buy was parked directly behind Rodriguez-Lopez’s home (TR.
19, 392). Shortly before Rodriguez-Lopez’s arrest, “Freddy” Rodriguez-Solis was arrested
in another vehicle described as a vehicle involved in the drug conspiracy (TR. 26-27; 42-43;
291). By the time of the arrest, the officers had also searched Apartment 2 and Apartment


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7, finding quantities of methamphetamine and currency. The officers also had in custody
other members of the alleged conspiracy and information linking those members to
Rodriguez-Lopez, Rodriguez-Lopez’s vehicle and the Poppleton Avenue apartments.
Finally, the officers were familiar with Rodriguez-Lopez based on two previous narcotics
investigations (TR. 109-110; 487-488). Under the circumstances of this case, Rodriguez-
Lopez’s warrantless arrest was proper, and the search of his person and seizure of his
cellular telephone were valid as a search incident to a lawful arrest, regardless of whether
the cellular telephone was obtained from Rodriguez-Lopez immediately before or after his
arrest. Accordingly, Rodriguez-Lopez’s motion to suppress should be denied to the extent
he contends his arrest or the search of his person was unconstitutional.


            D. Hernandez-Mendoza’s Motion to Suppress (Filing No. 33)
       Hernandez-Mendoza asserts that he and his vehicle were illegally stopped, that he
and his vehicle were illegally searched, that he was illegally arrested, and that, while under
arrest, he was transported to 2616 Poppleton Avenue where law enforcement officers
illegally entered Apartment No. 7 without a warrant. He further asserts the inadmissability
of statements he made while in Apartment No. 7.              The government asserts law
enforcement officers had probable cause to stop Hernandez-Mendoza’s vehicle because
of traffic violations, that there was probable cause to arrest Hernandez-Mendoza because
he was driving on a suspended license, that the subsequent search of Hernandez-Mendoza
was incident to arrest as was the search of his vehicle, and the entry into Apartment No.
7 without a warrant was based on exigent circumstances. The government asserts that
Hernandez-Mendoza’s statements made during the time he was being held in Apartment
No. 7, 2616 Poppleton Avenue, were volunteered and not the product of a custodial
interrogation. Further, the government asserts that any evidence discovered in Apartment
No. 7 prior to the arrival of the search warrant would be admissible under the inevitable
discovery doctrine.
       “[A] police officer who personally observes a traffic violation has probable cause to
stop the vehicle.” United States v. $404,905.00 in U.S. Currency, 182 F.3d 643, 646 (8th
Cir. 1999) citing Pennsylvania v. Mimms, 434 U.S. 106, 109 (1977). “Even assuming

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[the police officer] was looking for [the defendant], it would be “objectively reasonable” to
pull over a vehicle which was” engaging in a traffic offense. United States v. Miller, 20
F.3d 926, 929 (8th Cir. 1994). Contemporaneous with a valid traffic stop, a police officer
may detain the motorist while completing a number of routine tasks such as computerized
checks of the vehicle registration, driver’s license and criminal history, and issuing a
citation. $404,905.00, 182 F.3d at 647; see also United States v. Sokolow, 490 U.S. 1,
7 (1989). Additionally, the police officer may inquire about the motorist’s destination,
purpose of the trip and whether the police officer may search the vehicle. $404,905.00,
182 F.3d at 647; U.S. v. Allegree, 175 F.3d 648, 650 (8th Cir. 1999). The police officer
may take further action as necessitated by the information volunteered by the motorist,
observations of the contents of the vehicle, perceptions made the police officer regarding
illegal drug use, and divergent information from the passengers. $404,905.00, 182 F.3d
at 647; Allegree, 175 F.3d at 650-51.
       Hernandez-Mendoza was driving while his license was suspended. Such was a
violation of Nebraska law. Neb. Rev. Stat. § 60-486. As such, Hernandez-Mendoza was
arrested and he and the automobile were subject to search incident to that arrest. See
discussion in Rodriguez-Solis section above.       The evidence seized is admissible in
evidence.
       Hernandez-Mendoza was removed from the scene of his arrest and brought to
Apartment No. 7, 2616 Poppleton Avenue, where he was kept inside pending the arrival
of a search warrant that was being prepared. During the time that Hernandez-Mendoza
was kept in Apartment No. 7, he made several alleged incriminating statements
accompanied by gestures regarding drugs hidden in the apartment. These statements and
gestures were not the product of interrogation but were volunteered when he heard the
officers conducting the search in the apartment above. “Interrogation in the Miranda
context refers to express questioning and to words or conduct that officers should know is
‘reasonably likely to elicit an incriminating response from the suspect.’” United States v.
Briones, 390 F.3d 610, 612 (8th Cir. 2004) (quoting Rhode Island v. Innis, 446 U.S. 291,
301 (1980)). “Miranda does not protect an accused from a spontaneous admission made
under circumstances not induced by the investigating officers or during a conversation not

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initiated by the officers.” Butzin v. Wood, 886 F.2d 1016, 1018 (8th Cir. 1989) (quotation
omitted). Ordinarily, these statements would be admissible. However, the court finds
these statements to have been the fruits of a poison tree and should be excluded under
Wong Sun v. United States, 371 U.S. 471, 487 (1963).
      Officers entered Apartment No. 7 without a warrant and placed Hernandez-Mendoza
in the room. The government seeks to justify the entry of Apartment No. 7 on the basis of
exigent circumstances where there was a concern for officer safety. The court finds no
reasonable basis for such concern. There was no evidence that the officers believed there
were persons in the premises who may fire upon or harm the officers while they waited for
the arrival of a search warrant. There was testimony that it was raining heavily outside.
Such is not a basis for a determination of danger to the officers, especially when the
officers had police vehicles available to them. The concern that a gang was involved and
the officers needed some cover while waiting for the warrant is unreasonable under the
testimony given in this matter. While there was some testimony that subjects of the
investigation were probably members of the Sureños, a violent street gang, that
membership constitutes no reasonable basis to believe that the officers’ safety was in
danger when the evidence indicated there were numerous police vehicles and law
enforcement officers in the immediate area. Under the “exigent circumstances” exception,
“the warrant requirement is suspended ‘when--in the press of circumstances beyond a
police officer’s control--lives are threatened, a suspect’s escape looms, or evidence is
about to be destroyed.’” United States v. Johnson, 12 F.3d 760, 764 (8th Cir. 1993)
(citations omitted). “The exigent circumstances exception to the warrant requirement is
narrowly drawn.” Ball, 90 F.3d at 263. The government bears the burden of establishing
that exigent circumstances existed. Id. An exigency must be assessed in light of the
totality of the circumstances. United States v. Wihbey, 75 F.3d 761, 765 (1st Cir. 1996).
The critical time for determining whether an exigency exists “is the moment of the
warrantless entry by the officers onto the premises of the defendant.” United States v.
Morgan, 743 F.2d 1158, 1162 (6th Cir. 1984). “The ‘exigent circumstances’ inquiry is
limited to the objective facts reasonably known to, or discoverable by, the officers at the
time of the search.” United States v. Tibolt, 72 F.3d 965, 969 (1st Cir. 1995).

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       No exigent circumstances warranted the officers to enter Apartment No. 7 without
a warrant on the evening of March 21, 2005. The initial entry was illegal. As such,
Hernandez-Mendoza was placed in the apartment following the illegal entry and he would
not have been in the position to make the statements and gestures which are now alleged
to be incriminatory. Such statements and gestures should be suppressed pursuant to
Wong Sun.
       Even though the exclusionary rule may require the exclusion of all evidence obtained
by exploitation of an illegal search and seizure, the evidence gained may still be admissible
if it was gained by means sufficiently distinguishable to be purged of the primary taint of the
illegality. To that extent, three general exceptions have been carved from the exclusionary
rule. First the “attenuated connection” exception applies where the chain between the
challenged evidence and the primary taint of illegality is so long or only linked by
sophisticated argument that exclusion of the evidence is not warranted. See Wong Sun,
371 U.S. at 487-88; Nardone, 308 U.S. at 338. Second, the “independent source”
exception applies where evidence is admissible if the government can show it derived the
evidence from a lawful source independent of the illegal conduct giving rise to the primary
taint. See Silverthorne Lumber Co., 251 U.S. at 385. Third, the “inevitable discovery”
doctrine applies where the government can establish that it would have inevitably
discovered the challenged evidence without reference to the illegal conduct giving rise to
the primary taint. See Nix v. Williams, 467 U.S. 431 (1984).
       The government must prove by a preponderance of the evidence that there was a
reasonable probability the evidence would have been discovered by a lawful means in the
absence of police misconduct and that the police were actively pursuing an alternative line
of investigation. United States v. Madrid, 152 F.3d 1034, 1038 (8th Cir. 1998). In this
case, the police officers were in the process of obtaining a search warrant for the premises
at Apartment No. 7. The affidavit for a search warrant must contain probable cause of four
ingredients: time, crime, objects, and place. 2 Wayne R. LaFave, Search and Seizure, §
3.7(d) at 372 (3d ed. 1996). As the Supreme Court stated in Illinois v. Gates, 462 U.S.
213, 238 (1983): “The task of the issuing magistrate is simply to make a practical, common-
sense decision whether, given all the circumstances set forth in the affidavit before him,

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including the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information,
there is a fair probability that contraband or evidence of a crime will be found in a particular
place.” Id. Thus, when viewing a search warrant, the court must look at the totality of the
circumstances set forth in the affidavit. See id.; United States v. Etheridge, 165 F.3d 655,
656 (8th Cir. 1999). “The duty of the judge issuing a search warrant is to make a ‘practical,
common-sense decision’ whether, considering all the circumstances, a reasonable person
could have reason to suspect that evidence would be discovered. . . . Probable cause is
a fair probability that contraband evidence of a crime will be found in the location to be
searched.” United States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996). See Gates, 462
U.S. at 238. A review of the search warrant issued for Apartment No. 7 demonstrates that
there was probable cause to issue the warrant and the search of the premises was validly
conducted pursuant to the warrant. Evidence seized pursuant to the search warrant should
not be excluded from evidence in this matter.
       Hernandez-Mendoza’s motion to suppressed should be granted as to the statements
and gestures made in Apartment No. 7 on March 21, 2005, but otherwise denied.


       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.     Rodriguez-Solis’ motion to suppress (Filing No. 37) be denied.
       2.     Contreras-Cortez’s motion to suppress (Filing No. 27) be denied as to the
currency found on his person but otherwise granted.
       3.     Rodriguez-Lopez’s motion to suppress (Filing No. 31) be denied.
       4.     Hernandez-Mendoza’s motion to suppress (Filing No. 33) be should be
granted as to the statements and gestures made in Apartment No. 7 on March 21, 2005,
but otherwise denied.


                                        ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such

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objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 27th day of January, 2006.
                                               BY THE COURT:
                                               s/Thomas D. Thalken
                                               United States Magistrate Judge




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